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 1 Eugene Y. Turin (IL Bar No. 6317282)
 2 (pro hac vice to be submitted)
   eturin@mcgpc.com
 3 MCGUIRE LAW, P.C.
 4 55 W. Wacker Dr., 9th Floor
   Chicago, IL 60601
 5 Tel: {312) 893-7002
 6 Fax: {312) 275-7895

 7   Deval R. Zaveri {CA Bar No. 213501)
 8   dev@zaveritabb.com
     ZAVERi TABB, APC
 9   402 West Broadway, Suite 1950
10   San Diego, CA 92101
     Tel: {619) 831-6987
11   Fax: {619) 239-7800
12
     Attorneys for Plaintiff and the Putative Class
13
                   IN THE UNITED STATES DISTRICT COURT
14
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15
     KELLY SAUNDERS, individually and )
16   on behalf of a class of similarly situated )     Case No. '17CV0702 CAB AGS
17   individuals,                               )
                                                )     CLASS ACTION
18                       Plaintiff,             )     COMPLAINT FOR
                                                )     DAMAGES AND
19
     V.                                         )     INJUNCTIVE RELIEF
20
                                                )     Violation of the Telephone
21                                              )     Consumer Protection Act
     FIVESTARS LOYALTY, INC., a                 )     (47 U.S.C. § 227, et seq.)
22
     California Corporation                     )
23                                              )
                         Defendant.             )     DEMAND FOR JURY
24                                                    TRIAL
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     Class Action Complaint
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14                                               C L A SS A C T I O N A L L E G A T I O N S
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15              20.
                " T.         P l ai nti f f bri
                             Plaintiff          ng s this
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16    P rocedure "D(b
      Procedure       )( ") an
                 23(b)(2)   andd R ul e "D(
                                 Rule       b) ( D) on
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17    cla ss (th
      class  (thee c"Class")
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19    adv ert i sement s from
      advertisements     from D e fen dant on
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22              " 6.
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23    of
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24              "" .
                22.          P l ai nti f f w
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"M    i n t e r e st s o f t h e o t h e r m e m b e r s o f t h e C l a ss .
25    interests of the other members of the Class. PPlaintiff
                                                     l a i n t i f f hhas
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                                                                                        counsel        ith
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26    sub stanti al ex
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27    P l ai nti f f and
      Plaintiff      and her
                         her counsel
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22    P lainti ff and the other
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239   ov er any
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      Class Action Complaint                                  6
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  9                              D e f en d a n t vviolate
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10                     ((e)
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11                               tthe
                                   he w i l l f u l n e s s oof
                                      willfulness             f D e f e n d a n t ' s cconduct?
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12                     ((f)
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13                               c on du c t?
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16             27.
              8 E.     P l a inti ff iincorporates
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 9    m emb ers of
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      TCPA.
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                >:.      T o t h e ex t e n t D e f e n d a n t k n e w o r sh o u l d h a v e k n o w n t h a t t h e c l a ss
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